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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

FEDERAL TRADE COMMISSION,           )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )        CIVIL ACTION NO.
                                    )        1:04-CV-3294-CAP
                                    )
NATIONAL UROLOGICAL GROUP,          )
INC., et al.,                       )
                                    )
      Defendants.                   )
____________________________________

 REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANTS HI-TECH
PHARMACEUTICALS, INC., JARED WHEAT, AND STEPHEN SMITH’S
          MOTION FOR RELIEF FROM A JUDGMENT
                 AND FOR AN ACCOUNTING
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                         PRELIMINARY STATEMENT

      Make no mistake, the Federal Trade Commission (“FTC”) wants this Court to

know that it does not like Defendants Hi-Tech Pharmaceuticals, Inc. (“Hi-Tech”),

Jared Wheat, and Stephen Smith (collectively, “Defendants”). To the FTC,

Defendants are bad actors, undeserving of a neutral and unbiased application of

fundamental principles of equity. This much is clear from the FTC’s brief opposing

Defendants’ motion for relief from the October 10, 2017, $40,000,950.00 Final

Judgment (the “$40 Million Judgment”) (Doc No. 966), and for an accounting of the

$40 Million Judgment and the December 16, 2008, $15,882,436.00 Final Judgment

and Permanent Injunction (the “$15.9 Million Judgment”) (Doc. No. 230).

Unfortunately for the FTC, that is not the standard this Court must apply in deciding

whether Defendants are entitled to the relief sought, and the Court should not be

swayed by the FTC’s obvious disdain for its adversaries. Indeed, when the FTC’s

invective and hyperbole are stripped away, all the Court is left with is opposition to

arguments Defendants never made, and a desperate and misleading attempt to avoid

the effect of recent Supreme Court precedent. See AMG Capital Management, LLC

v. FTC, 141 S. Ct. 1341 (2021).

      Beginning with the FTC’s opening salvo that Defendants have “failed to offer

any reason why applying the [$40 Million Judgment] ‘is no longer equitable,’” see

FTC Br. at 1 (Doc. No. 1102) (emphasis added), the FTC’s opposition is shockingly
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dishonest and bears little relation to the arguments actually asserted by Defendants

in support of their motion. In reality, Defendants spent the entirety of their moving

papers explaining why, given AMG Capital, it is no longer equitable to apply the

$40 Million Judgment against them, particularly in light of systemic problems with

the FTC’s consumer redress programs. See, e.g., Def. Br. at 2 (“…the FTC’s

‘consumer redress’ regime is plagued by inexplicable delays resulting in the FTC’s

failure to ensure that the monies taken from Defendants are actually returned to

consumers.”) (Doc. No. 1101-1); id. at 4 (“Thanks to AMG Capital, we now know

for certain that the FTC never had a right under Section 13(b) to take Defendants’

money in the first place.”); id. at 16 (“…the Supreme Court’s decision in AMG

Capital is dispositive—equitably, the FTC cannot continue to collect over $40

million to which it was never entitled in the first place.”). Equity is the entire basis

for Defendants’ motion.

      Moreover, Defendants have never argued that AMG Capital should be given

retroactive application by this Court. If they had, Defendants would be asking for a

return of over $18 million from the FTC, i.e., a return of all funds collected in

complete satisfaction of the $15.9 Million Judgment and all funds collected to date

in partial satisfaction of the $40 Million Judgment. Rather, Defendants are arguing

that, in light of AMG Capital, it is no longer equitable for the $40 Million Judgment

to be applied prospectively, and are thus asking the Court to relieve Defendants from


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any further garnishment efforts by the FTC in satisfaction of this Judgment. In

addition, Defendants are asking the Court to take any funds that were collected in

satisfaction of the $15.9 Million Judgment but that remain unclaimed by consumers,

and use those monies to issue redress to consumers who were supposed to benefit

from the $40 Million Judgment. Simply put, Defendants are asking the Court to put

an end to the charade whereby the FTC can indefinitely hold on to money fully

collected nearly six years ago under the absurd pretense that it is still trying to locate

consumers to whom to issue redress. The FTC fails entirely to grapple with this

argument, and attempts instead to distract the Court with the “retroactivity”

strawman.

      In addition, the FTC persists in the bad faith argument that this Court does not

have the authority to order the agency to provide an accounting of all monies

garnished pursuant to the $15.9 Million Judgment and the $40 Million Judgment.

While the FTC now acknowledges that it will “of course … provide whatever

information the Court requests,” see FTC Br. at 12 (Doc. No. 1102), the FTC is still,

in effect, arguing that this Court does not have the authority to enforce or modify its

own Orders. This position is absurd on its face, and is contradicted not only by the

relevant law but by the FTC’s own arguments as they relate to the Court’s inherent

power to enforce its Orders against Defendants.




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        For these reasons and those set forth more fully herein and in Defendants’

moving papers, Defendants’ motion for relief from the $40 Million Judgment and

for an accounting of monies already garnished should be granted in full.

                                    ARGUMENT

   I.      The Court Should Exercise Its Inherent Equitable Power to Order a
           Stay of All Garnishment and Collection Efforts by the FTC.

        The FTC attempts to rewrite Defendants’ motion by claiming that “Supreme

Court rulings only have so-called ‘retroactive effect’ on ‘cases still open on direct

review.’” FTC Br. at 6 (Doc. No. 1102) (citations omitted). Defendants do not

dispute this principle. However, it is not relevant to Defendants’ motion, because

Defendants are not asking the Court to apply AMG Capital retroactively. Instead,

Defendants are arguing that the FTC’s efforts to garnish the $40 Million Judgment

should be ordered to a halt because under AMG Capital, the FTC was never entitled

to seek “disgorgement of gross receipts” from Defendants in the first instance.

        Federal Rules of Civil Procedure 60(b)(5) and (6) provide for relief from a

judgment when “applying [the judgment] prospectively is no longer equitable” or

for “any other reason that justifies relief.” These Rules demand that the Court

balance “the desire to preserve the finality of judgment and the ‘incessant command

of the court’s conscience that justice be done in light of all the facts.’” Aldana v. Del

Monte Fresh Produce N.A., Inc., 741 F.3d 1349, 1355 (11th Cir. 2014) (citations

omitted). Rule 60(b) explicitly concerns the authority of federal courts to order
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equitable remedies. See also Grupo Mexicano de Desarrollo S.A. v. Alliance Bond

Fund, Inc., 527 U.S. 308, 318-19 (1999) (“The Judiciary Act of 1789 conferred on

the federal courts jurisdiction over ‘all suits … in equity’ … [T]he substantive

prerequisites for obtaining an equitable remedy … depend on traditional principles

of equity jurisdiction.”) (Scalia, J.). Moreover, when the FTC filed suit against

Defendants in 2004, it styled its Complaint as one for “permanent injunction and

other equitable relief.” See Complaint (Doc. No. 1). The FTC cannot now complain

that Defendants are asking the Court to order an equitable remedy, particularly when

ordering relief from a judgment grounded in a weighing of the equities is explicitly

provided for by the Federal Rules of Civil Procedure.

      A.    Defendants Are Entitled to Relief Pursuant to Rule 60(b)(5).

      The FTC cites, inter alia, United States v. Eyler, 778 F. Supp. 1553, 1557

(M.D. Fla. 1991) for the proposition that, even under Rule 60(b)(5), “‘judgments

awarding current monetary damages for past wrongdoing … are properly considered

retroactive’ and not eligible for Rule 60(b)(5) relief.” See FTC Br. at 9 (Doc. No.

1102). The FTC’s reliance on Eyler is misplaced. In Eyler, the court made clear that

multiple considerations went into its determination that the defendant was not

eligible for relief from a judgment pursuant to Rule 60(b)(5). Namely, the Eyler

court considered four distinct factors—none dispositive on its own—in determining

whether to apply Rule 60(b)(5) to a defendant’s motion to vacate a judgment on a


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consent decree he had signed, only one of which was whether “judgments awarding

current monetary damages for past wrongdoing” were, in effect, being applied

retroactively or prospectively. See Eyler, 778 F. Supp. at 1556-57. The Eyler court

also emphasized that the “essence of Rule 60(b)(5)” is “what do the equities of the

situation require?” Id. at 1557. Ultimately the Eyler court found no inequity in

refusing to vacate a judgment on a consent decree, noting there was no evidence that

the defendant was fraudulently induced to agree to same. Id. at 1558.

      Here, “the equities of the situation” are different and require that the Court

afford Defendants relief from the $40 Million Judgment. Unlike in Eyler,

Defendants certainly did not consent to entry of the $40 Million Judgment. And, as

Defendants have noted previously, the FTC’s failure to institute Section 5

administrative proceedings and obtain an administrative cease-and-desist order

against Defendants before filing suit against them means that “everything that

flowed from the FTC’s initial pleading—including entry of the $15.9 Million

Judgment and the $40 Million Judgment—was premised on an incorrect

interpretation of the FTC Act.” Def. Br. at 15-16 (Doc. No. 1101-1). In other words,

the illegitimacy of the $15.9 Million Judgment necessarily extends to any judgment

purporting to enforce it, i.e., the $40 Million Judgment.

      The key inquiry here is whether this Court ever actually had the authority to

enter the $15.9 Million Judgment. It unquestionably did not. Indeed, the FTC’s


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assertion that the $40 Million Judgment ‘“flowed from’ Defendants’ violations of

this Court’s lawfully issued injunctions” see FTC Br. at 10 (Doc. No. 1102), is

incorrect, because the “injunction,” i.e. the $15.9 Million Judgment, was not

“lawfully issued.” The $15.9 Million Judgment was entered based on alleged

violations of Section 13(b), which the Supreme Court has held does not authorize

the FTC to seek, or a court to award, equitable monetary remedies. See AMG Capital,

141 S. Ct. at 1352. “After all, Rule 60(b)(5) requires only that the moving party

demonstrate ‘a significant change … in law.’” Griffin v. Secretary, Florida

Department of Corrections, 787 F.3d 1086, 1094 (11th Cir. 2015) (citation omitted).

      It is hard to conceive of a more “significant change … in law” justifying relief

under Rule 60(b)(5) than that created by AMG Capital. And again, Defendants are

not asking the Court to vacate the $40 Million Judgment wholesale. They are seeking

a “modification [of the $40 Million Judgment] suitably tailored to the changed

circumstance[s]” resulting from the Supreme Court’s AMG Capital decision. See

Florida Wildlife Federation Inc. v. Administrator, U.S. Environmental Protection

Agency, 602 F. App’x 705, 707-09 (11th Cir. 2015) (upholding district court order

modifying a consent decree where the movant had shown a significant change in

facts or law where “the proposed modification [was] suitably tailored to the changed

circumstance.”) (citing Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367, 383

(1992)); cf. FTC v. Garden of Life, Inc., No. 06-cv-80226, 2012 WL 1898607, at *4-


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6 (S.D. Fla. May 25, 2012) (denying FTC’s motion to modify a stipulated final order

and permanent injunction where the FTC had only argued that the order had “failed

to achieve its intended purpose of protecting consumers from the Defendants’

deceptive marketing”).

      B.     Defendants Are Entitled to Relief Pursuant to Rule 60(b)(6).

      The FTC’s arguments related to Rule 60(b)(6) are similarly unavailing. Rule

60(b)(6) is the “catch-all” and provides for relief from a judgment “for any other

reason that justifies relief.” See also Martin v. H.M.B. Const. Co., 279 F.2d 495, 496

(5th Cir. 1960) (holding that a district court has the authority to modify a judgment

“so as to relieve the defendant … for any reason justifying relief from the operation

of the judgment”) (citing Rule 60(b)(6)). Importantly, “[t]he Eleventh Circuit has

recognized that Rule 60(b) can be used to remedy a mistake in the application of the

law.” Ritter v. Smith, 811 F.2d 1398, 1401 (11th Cir. 1987). It is clear that “[t]he law

of this circuit permits a trial judge, in his discretion, to reopen a judgment on the

basis of an error of law.” Id. (quoting Fackelman v. Bell, 564 F.2d 734, 736 (5th Cir.

1977)).

      The FTC protests that “a change of law alone does not provide grounds for

Rule 60(b)(6) relief.” FTC Br. at 10 (Doc. No. 1102) (citing Ramsey v. Walker, 304

F. App’x 827, 829 (11th Cir. 2008)). The FTC fails, however, to set forth the full

test. First, the change in the law must be “clear-cut.” Ritter, 811 F.2d at 1401. Here,


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the change in the law could not be more “clear-cut.” The $15.9 Million Judgment

was entered by the court based on Defendants’ alleged violations of Section 13(b)

of the FTC Act and represented disgorgement of Defendants’ gross receipts, and the

$40 Million Judgment flowed directly from alleged violations of the $15.9 Million

Judgment. There can be no debate that this Court never had authority to enter the

$15.9 Million Judgment in the first instance. See AMG Capital, 141 S. Ct. at 1344

(holding that Section 13(b) does not authorize the FTC to seek, and a court to award,

equitable monetary relief such as restitution or disgorgement.). In addition, “[a]

significant factor … is the fact that the previous, erroneous judgment of this court

had not been executed.” Ritter, 811 F.2d at 1401. “When a judgment has been

executed a concomitantly greater interest in finality exists.” Id. Here, the $40

Million Judgment has not been fully executed. On the contrary, execution of the

Judgment is in its early stages, with over $39 million remaining uncollected. See

Def. Br. at 2 (Doc. No. 1101-1). Indeed, “it would be unjust to give prospective

effect to a judgment now known to be improper.” Ritter, 811 F.2d at 1402.

      The FTC also cites non-precedential district court decisions issued prior to

AMG Capital being decided for the proposition that “the Supreme Court’s decision

would not impair [the district courts’] ability to impose compensatory sanctions to

remedy order violations.” See FTC Br. at 12 (Doc. No. 1102) (citing FTC v. Noland,

No. 20-cv-47, 2020 WL 7075241, at *4 (D. Ariz. Dec. 3, 2020) (denying motion to


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stay pending AMG Capital); In re Sanctuary Belize Litig., --- F. Supp. 3d ----, 2021

WL 1117763, at *1-2 (D. Md. Mar. 24, 2021) (same)). Of course, what another

district court predicted about the impact AMG Capital would have on future

litigation is irrelevant to Defendants’ motion, and certainly has no bearing on this

Court’s decision relative to Defendants’ requested relief.1 The fact remains that the

$15.9 Million Judgment should never have been entered in the first instance. AMG

Capital is dispositive on this point, which the FTC cannot in good faith dispute. As

such, the only equitable course of action now is for the Court to order a cessation of

all of the FTC’s garnishment activity, and a re-allocation of already-garnished but

unclaimed funds to ensure that any remaining moneys being held by the FTC are

distributed to consumers, with any balance thereafter returned to Defendants.

    II.      The Court Should Order the FTC to Provide an Accounting.

          Finally, the FTC argues that this Court does not have the authority to order an

accounting of the funds garnished in satisfaction of the $15.9 Million Judgment and

the $40 Million Judgment. See FTC Br. at 12-15 (Doc. No. 1102). This is not a

serious argument. As the FTC itself argued elsewhere, the Court has the “inherent



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  In fact, in light of AMG Capital, the Noland court is now awaiting full briefing on
the legality of a receivership and a freeze of the defendant’s assets. See FTC v.
Noland, No. 20-cv-47, 2021 WL 2187021, at *1 n.1 (D. Ariz. May 28, 2021); see
also FTC v. Cardiff, No. 18-cv-2104 (C.D. Cal. May 24, 2021) (Doc. No. 598)
(ordering the FTC to pay all of a receiver’s fees incurred after AMG Capital was
decided).
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power to enforce compliance with [its] orders.” Id. at 11 (citing Shillitani v. United

States, 384 U.S. 364, 369 (1966)). In its Order accompanying the $40 Million

Judgment, the Court found that it had wide discretion in fashioning equitable

remedies. See $40 Million Judgment at 128 n.32 (Doc. No. 966). In fact, this Court

had earlier held that, when entering an injunction pursuant to Section 13(b) of the

FTC Act, “the full range of equitable remedies” was available to it. See FTC v.

National Urological Group, Inc., 645 F. Supp. 2d 1167, 1211 n.27 (N.D. Ga. 2008)

(citations omitted). While it is now undisputed that these “equitable remedies” do

not include “equitable monetary relief,” see AMG Capital, 141 S. Ct. at 1344, the

corollary is that once the Court fashions an equitable remedy, it has the authority to

ensure compliance with its Order. See also Missouri, K. & T. Ry. Co. of Kansas v.

Hickman, 183 U.S. 53, 61 (1901) (“it is familiar that a court of equity may enforce

compliance with its orders and decrees”).

      Moreover, the FTC has tacitly admitted that it took more than five years for

$8.5 million in “refund checks” to be issued to consumers after the $15.9 Million

Judgment had been fully satisfied. See FTC Br. at 13-14 (Doc. No. 1102). However,

the FTC offered absolutely no explanation for this substantial delay. In addition, the

FTC claims that of the $15.9 million garnished, $11.5 million in checks have been

cashed by consumers. See FTC Br. at 14 n.10 (Doc. No. 1102). Importantly, though,

the citations in support of this claim—two FTC press releases, one from 2012 and


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one from 2020—make absolutely no mention of how many checks had been cashed

or deposited. They merely state how many checks had allegedly been distributed by

the FTC. As Defendants explained in their moving papers, there were doubtless

many checks that went stale or were otherwise returned to the FTC. The FTC has

not even attempted to dispute this. In fact, the FTC admits that some checks have

gone uncashed. See id. The FTC provides absolutely no proof—no sworn affidavits

or official agency records, for example—in support of the claim that $11.5 million

of the $15.9 Million Judgment is now in the hands of consumers. Yet, even if the

FTC’s unverified figures are to be believed, they beg the question—where is the

remaining $4.4 million? The FTC has failed to explain why this money should

simply revert to the U.S. Treasury.

      Relatedly, the FTC offers no reason why it cannot take unclaimed funds

already collected from Defendants and use them to pay consumers who are supposed

to benefit from the unsatisfied $40 Million Judgment. As the FTC acknowledges,

the $15.9 Million Judgment was never intended to be a “fine, penalty, or punitive

assessment.” See FTC Br. at 3 n.1 (Doc. No. 1102) (quoting the $15.9 Million

Judgment at 19 (Doc. 230)). However, when the government retains funds taken

from Defendants without paying those funds to the consumers for whom those funds

were intended, it ensures that the “compensatory sanction” against Defendants is in

fact operating as a “punitive assessment.”


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      Defendants have been convicted of no crime, nor are they the subject of a civil

forfeiture action before this Court. This is and was a case about equity, and allowing

the FTC to retain funds taken from Defendants—which were intended to benefit

consumers—is not equitable. This is particularly true when, as here, the FTC had no

right to take Defendants’ money in the first place. The FTC knows it, and this Court

knows it, which is why the FTC was ordered specifically to “use these funds to

reimburse consumers who purchased these products…” $40 Million Judgment at

130 (Doc. No. 966).2 Defendants understand that, notwithstanding AMG Capital, the

FTC has already collected over $18 million from them. For practical as well as

equitable reasons, Defendants are not asking for all of this money to be returned. At

the very least, though, the Court should follow through on its admonition to the FTC

and ensure that consumer redress was the primary focus of the FTC’s enforcement

efforts before AMG Capital was decided.

      The FTC clearly does not want any transparency in the administration of its

“consumer redress” program. It seems the FTC’s real concern is that it does not want

to explicitly admit to the Court what is obvious from the parties’ submissions and a


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  In addition, the FTC’s argument that taking unclaimed funds already collected from
Defendants and using them to pay consumers who are supposed to benefit from the
unsatisfied $40 Million Judgment “would perversely incentivize [Defendants] to
take steps to frustrate the Commission’s collections and redress efforts,” FTC Br. at
4 n.3 (Doc. No. 1102), is nonsensical. It would actually further the FTC’s redress
efforts. What it would not do is permit the unclaimed funds to revert to the U.S.
Treasury, in violation of this Court’s command.
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review of the public record, i.e., that the FTC routinely delays issuing refund checks

for years without explanation and then retains vast sums of money that never get into

the hands of consumers. Indeed, this should concern the FTC—and the Court—

because such a “consumer redress” program does not actually serve to remedy the

harms allegedly inflicted on consumers. And of course, it bears repeating that the

FTC should never have been in the business of “consumer redress” at all as it relates

to Defendants, since it failed to institute Section 5 proceedings before suing them in

this Court.

      In light of the obvious issues with the FTC’s consumer redress program, and

in particular the manner in which the FTC has distributed disgorged funds in this

case to date, as well as the FTC’s lack of authority to obtain “equitable monetary

relief” from Defendants ab initio, there is simply no compelling reason why the FTC

should not have to account for the funds garnished pursuant to the $15.9 Million

Judgment and the $40 Million Judgment.

                                  CONCLUSION

      For the reasons set forth above and in Defendants’ moving papers, Defendants

respectfully request that the Court grant their motion, pursuant to Federal Rules of

Civil Procedure 60(b)(5) and (6), and order that the FTC cease all collection and

garnishment activities related to the $40 Million Judgment, and order the FTC to




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produce an accounting of all funds collected related to the $15.9 Million Judgment

and the $40 Million Judgment.

                                            Respectfully submitted,

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         CERTIFICATION PURSUANT TO LOCAL RULE 7.1(D)

      Pursuant to Local Rule 7.1(D), I hereby certify that this reply brief was

prepared in Microsoft Word using Times New Roman 14 point font.

                                             /s/Jack Wenik
                                             Jack Wenik
Dated: June 9, 2021




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